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                                         Exhibit D

                     Customary and Comparable Compensation Disclosures




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                 CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES



                                            FTX Trading Ltd.*                                           Firm**
                                                                                         Total Firm Bills Allocated to Non‐BK
                                                                                         General Domestic Timekeepers from
                                  November 2022 through October                            November 2022 through October
                                              2024                                                        2024
                                  Blended Hourly    % of Total                             Blended
       Category                        Rate           Hours                               Hourly Rate       % of Total Hours
Partners and Counsels (1)                       $2,108                      45%                      $2,025                         31%
Associate (2)                                   $1,099                      46%                      $1,047                         61%
Non-Lawyer (3)                                    $462                       9%                        $551                          8%
All Timekeepers
Average                                        $ 1,221                   100%                       $ 1,304                        100%


      (1) Includes Special Counsel, Of Counsel, Senior Counsel


      (2) Includes Senior Associate (Level 5-8), Practice Area Associates, and Junior Associate (Level 1-4)


      (3) Includes Summer Associate, Interns, Paralegals, Legal Analyst, Research Analyst, and Electronic Discovery


      * Includes No Charge entries on various projects. No Charge entries were included on the fee applications with a $0 rate.


      ** Includes non-BK work of BK timekeepers and all work of other domestic timekeepers, excluding litigation matters and all

      write-offs (bills or collections less than 60% of standard rates).




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